           Case 2:19-cr-20052-JAR Document 254 Filed 03/14/22 Page 1 of 4




                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

             Plaintiff,

             v.                                                       Case No. 19-20052-JAR

FENG TAO,

             Defendant.


                                      MEMORANDUM AND ORDER

         Before the Court is the Government’s sealed ex parte, in camera Motion for a Protective

Order under Section 4 of the Classified Information Procedures Act (“CIPA”), 18 U.S.C. app. 3,

and Fed. R. Crim. P. 16(d)(1). The Government asks the Court for authorization to delete certain

classified information from discovery. Pursuant to this Court’s December 6, 2021 Order,

Defendant Feng Tao submitted a Sealed Ex Parte Notice of Potential Defenses to assist the Court

in its review of the Government’s motion. Having carefully reviewed the parties’ submissions,

the Court grants the Government’s motion.

         CIPA governs the procedures for handling classified information in criminal proceedings.

Its “fundamental purpose is to ‘protect[] and restrict[] the discovery of classified information in a

way that does not impair the defendant’s right to a fair trial.’”1 Section 4 of CIPA provides:

                  The court, upon a sufficient showing, may authorize the United
                  States to delete specified items of classified information from
                  documents to be made available to the defendant through
                  discovery under the Federal Rules of Criminal Procedure, to
                  substitute a summary of the information for such classified
                  documents, or to substitute a statement admitting relevant facts that
                  the classified information would tend to prove.

          1
            United States v. Dumeisi, 424 F.3d 566, 578 (7th Cir. 2005) (alterations in original) (quoting United
States v. O’Hara, 301 F.3d 563, 568 (7th Cir. 2002)).
             Case 2:19-cr-20052-JAR Document 254 Filed 03/14/22 Page 2 of 4




This provision “clarifies district courts’ power under [Rule 16(d)(1)] to issue protective orders

denying or restricting discovery for good cause.”2 CIPA “is a procedural statute, however, that

does not give rise to an independent right to discovery”3 or “create a privilege against discovery

of classified information.”4

         As the Tenth Circuit recently observed, “[c]ourts frequently cite the D.C. Circuit’s

decision in [United States v.] Yunis for the standard governing a district court’s evaluation of a

CIPA § 4 motion.”5 First, the Court must determine whether the information “crosse[s] the low

hurdle of relevance.”6 Second, the Court must evaluate whether “the assertion of privilege by

the government is at least a colorable one.”7 Third, the Court must determine whether the

evidence is “‘material[],’ meaning ‘helpful to the defense of [the] accused.’”8 “To be helpful or

material to the defense, evidence need not rise to the level that would trigger the Government’s

obligation under Brady v. Maryland to disclose exculpatory information.”9 But “classified




         2
           United States v. Lustyik, 833 F.3d 1263, 1271 (10th Cir. 2016) (quoting United States v. Aref, 533 F.3d
72, 78 (2d Cir. 2008)).
         3
             Id.
         4
             United States v. Mejia, 448 F.3d 436, 455 (D.C. Cir. 2006).
        5
          United States v. Muhtorov, 20 F.4th 558, 629 (10th Cir. 2021) (citing United States v. Amawi, 695 F.3d
457, 470 (6th Cir. 2012)); see United States v. Yunis, 867 F.2d 617 (D.C. Cir. 1989).
         6
             Muhtorov, 20 F.4th at 629 (alteration in original) (quoting Yunis, 867 F.2d at 623).
         7
           Id. (quoting Yunis, 867 F.2d at 623). The Second and Ninth Circuits instead apply United States v.
Reynolds, 345 U.S. 1 (1953), and require “a formal claim of the state secrets privilege, ‘lodged by the head of the
department which has actual control over the matter, after actual personal consideration by that officer.’” United
States v. Sedaghaty, 728 F.3d 885, 904 (9th Cir. 2013) (quoting United States v. Klimavicius-Viloria, 144 F.3d 1249,
1261 (9th Cir. 1989)); Aref, 533 F.3d at 80. But see United States v. Rosen, 557 F.3d 192, 198 (4th Cir. 2009)
(questioning whether “the Aref court properly adopted and applied Reynolds in the criminal context”); United States
v. El-Mezain, 664 F.3d 467, 521 (5th Cir. 2011) (same). In Muhtorov, the Tenth Circuit recited the Yunis standard,
which merely requires the Government to assert a “colorable” claim of the classified information privilege. See
Muhtorov, 20 F.4th at 629. So, that is all this Court will require here.
        8
          Muhtorov, 20 F.4th at 629 (first alteration in original) (quoting Yunis, 867 F.2d at 622); see Roviaro v.
United States, 353 U.S. 53, 60–61 (1957).
         9
             Aref, 533 F.3d at 80 (citing Brady v. Maryland, 373 U.S. 83, 87 (1963)); see Muhtorov, 20 F.4th at 629.




                                                             2
            Case 2:19-cr-20052-JAR Document 254 Filed 03/14/22 Page 3 of 4




information is not discoverable on a mere showing of theoretical relevance in the face of the

government’s classified information privilege.”10

       At the outset, the Court finds that the Government properly filed its motion ex parte and

under seal for this Court’s in camera review under CIPA § 4 and Rule 16(d)(1). The Court has

conducted an in camera review of the Government’s motion and related materials, during which

the Court balanced the Government’s need for confidentiality with Defendant’s right to a fair

trial. Based on its independent review, the Court finds that the Government’s claim to the

classified information privilege is colorable. The Court further finds that, to the extent the

classified information at issue is discoverable, it is not helpful or material to the defense.

       Moreover, for the reasons stated above, the Government has shown “good cause” for why

the classified information in question should be withheld from discovery under Rule 16(d)(1).

The Court also finds that the withholdings authorized by this Order are consistent with the

Government’s discovery obligations under Rule 16 and Brady and its progeny.

       IT IS THEREFORE ORDERED BY THE COURT that the Government is authorized

to withhold from discovery to the defense the classified information specified in the

Government’s Motion for a Protective Order.

       IT IS FURTHER ORDERED that the entire text of the Government’s Motion for a

Protective Order, memorandum of law, and any accompanying documents shall not be disclosed

to the defense or the public, and shall be sealed and maintained in a facility appropriate for the

storage of such classified information by the Classified Information Security Officer as the

designee of the Clerk of the Court, in accordance with established security procedures, for any

future review, until further order of this Court.


       10
            Yunis, 867 F.2d at 623.




                                                    3
 Case 2:19-cr-20052-JAR Document 254 Filed 03/14/22 Page 4 of 4




IT IS SO ORDERED.

Dated: March 14, 2022


                                   S/ Julie A. Robinson
                                   JULIE A. ROBINSON
                                   UNITED STATES DISTRICT JUDGE




                               4
